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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



IN RE INTEREST RATE SWAPS
ANTITRUST LITIGATION                                   MDL No. 2704
                                                       Master Docket No. 16 MD 2704 (JPO)

                                                       ORDER AWARDING
This Document Pertains To:                             ATTORNEYS’ FEES

ALL CLASS ACTIONS                                                  Hon. J. Paul Oetken




       This matter came before the Court for hearing pursuant to Plaintiffs’1 application for

Plaintiff service awards in their Motion for Attorneys’ Fees, Litigation Expenses, and Service

Awards (ECF No. 1150). The Court has considered all papers filed and proceedings held herein

and is fully informed of these matters. For good cause shown, IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED that:

       1.      This Order incorporates by reference the definitions and terms of the Credit

Suisse Settlement Agreement (ECF No. 979-1), the New Settlement Agreement (ECF No. 1080-

1), and all capitalized terms used, but not defined herein, shall have the same meanings as set

forth in the Settlement Agreements.

       2.      The Court has jurisdiction over the subject matter of the Action, and for purposes

of enforcing and administering the Settlements, the Court has jurisdiction over the parties to the

action, including members of the Settlement Class.


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        Plaintiffs are the Los Angeles County Employees Retirement Association and the Public
School Teachers’ Pension and Retirement Fund of Chicago.
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       3.           Notice of Plaintiffs’ Motion for Attorneys’ Fees, Litigation Expenses, and Service

Awards was given to potential members of the Settlement Classes in a reasonable manner, and

such Notice complies with Rule 23 of the Federal Rules of Civil Procedure, due process

requirements, and any other applicable law, as it constituted the best notice practicable under the

circumstances, and constituted due and sufficient notice to persons and entities entitled thereto.

       4.           Members of the Settlement Classes were given the opportunity to object to the

Motion for Attorneys’ Fees, Litigation Expenses, and Service Awards in compliance with Rule

23 of the Federal Rules of Civil Procedure. No objections to the Motion have been made.

       5.           The Motion for Attorneys’ Fees, Litigation Expenses, and Service Awards is

granted with respect to litigation expenses as described below.

       6.           The Court hereby awards attorneys’ fees equal to $35,500,000.00 minus the

amount of litigation expenses awarded by Court order filed herewith, which fees shall be drawn

proportionally from each Settlement Fund, plus interest at the same rate as the earnings in the

respective Settlement Funds, accruing from the inception of each of the Settlement Funds. Co-

Lead Counsel is authorized to allocate these awards among themselves and with other firms that

assisted them in such manner as, in their judgment, reflects the contributions of each firm to the

prosecution and settlement of the Action.

       7.           In making this award of fees to Co-Lead Counsel, the Court has considered and

found that:

              (a)      The Credit Suisse Settlement created a fund of $25,000,000 in cash, and the

              New Settlement created a Fund of $46,000,000 in cash, for a total of $71,000,000 in

              total cash settlements in the Action;




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   (b)    Numerous members of the Settlement Classes who have submitted valid Proof

   of Claim and Release Forms will benefit from the Settlements achieved by Plaintiffs

   and Co-Lead Counsel;

   (c)    The fee sought by Co-Lead Counsel is fair and reasonable, representing only

   17% of the Settlement Funds, and a “negative” lodestar “multiplier” of approximately

   0.12 (as of the time of Plaintiffs’ Motion using historical rates from Co-Lead

   Counsel);

   (d)    Adequate Notice was disseminated to potential members of the Settlement

   Classes;

   (e)    The Notice indicates that Co-Lead Counsel would move for fee and expense

   awards not to exceed 50% of each Settlement Fund, totaling $35,500,000 plus interest

   thereon;

   (f)    No Settlement Class Member filed any objection to Co-Lead Counsel’s

   proposed fee or expense awards;

   (g)    Co-Lead Counsel has pursued the litigation and achieved the Settlements with

   skill, perseverance, and diligent advocacy, as reflected by the positive reception of the

   Settlement Agreements by the Settlement Classes;

   (h)    Co-Lead Counsel has expended substantial time and effort pursuing the

   litigation on behalf of the Settlement Classes;

   (i)    The litigation involves complex factual and legal issues and, in the absence of

   the Settlements, would involve lengthy proceedings whose resolution would be

   uncertain;




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             (j)      Had Co-Lead Counsel not achieved the Settlements, there would remain a

             significant risk that the Settlement Classes may have recovered less or nothing from

             the Settling Defendants;

             (k)      Public policy concerns favor the award of reasonable litigation expenses and

             expenses in class action litigation; and

             (l)      The amount of attorneys’ fees is appropriate to the specific circumstances of

             this Action.

       8.          This fee award is independent of the Court’s consideration of the fairness,

reasonability, and adequacy of any of the settlements reached in this Action, and is also

independent of the Court’s consideration of the Plans of Allocation, litigation expense award,

and service awards. Any appeal or challenge affecting this Court’s approval regarding the

current award of fees shall in no way disturb or affect the finality of the final judgments entered

with respect to the Settlements, the Plans of Allocation, the litigation expense award, or the

service awards.

       9.          The fee award and interest awarded herein shall constitute a final order and shall

be payable to Co-Lead Counsel from the Settlement Funds upon entry of the final judgment

related to each Settlement.

       10.         In the event that one or both Settlements are terminated or do not become Final or

the Effective Date does not occur in accordance with the terms of their respective Settlement

Agreements, this Order shall be rendered null and void to the extent provided in each respective

Agreement and shall be vacated as to that Agreement.




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       IT IS SO ORDERED.



DATED: July 17, 2025
                                                       HON. J. PAUL OETKEN
                                                       UNITED STATES DISTRICT JUDGE




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